Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 1 of 28




                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK

John Doe; The Door; Make the Road New
York; New York Immigration Coalition;
Sanctuary for Families; Urban Justice Center,

                              Plaintiffs,
               v.                                     No. 19 Civ. 8892 (AJN)

U.S. Immigration and Customs Enforcement; U.S.
Department of Homeland Security; Donald J.
Trump, in his official capacity as President of the
United States; Chad Wolf, in his official capacity
as Acting Secretary of Homeland Security;
Matthew T. Albence, in his official capacity as
U.S. Immigration and Customs Enforcement
Acting Director; Thomas Decker, in his official
capacity as U.S. Immigration and Customs
Enforcement New York Field Office Director,

                              Defendants.


                BRIEF OF IMMIGRATION LAW SCHOLARS
               AS AMICI CURIAE IN SUPPORT OF PLAINTIFFS



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         Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 2 of 28




                                                   TABLE OF CONTENTS


                                                                                                                                       Page


INTEREST OF AMICI CURIAE .....................................................................................................1

INTRODUCTION ...........................................................................................................................2

ARGUMENT ...................................................................................................................................3

I.        The Courthouse Arrest Directive Seeks to Enlist the States in
          Enforcing Federal Immigration Law ...................................................................................3

II.       The Common Law Precludes Civil Arrests in the Vicinity of Courthouses or
          While Going to or Returning from Court Proceedings ........................................................8

           A.         English-Law Origins of the Common-Law Privilege from Arrest ..........................8

           B.         The Federal Common-Law Privilege from Arrest .................................................10

           C.         New York’s Common-Law Privilege from Arrest ................................................12

III.      Defendants’ Common-Law Arguments Are Meritless ......................................................15

CONCLUSION ..............................................................................................................................17

APPENDIX ....................................................................................................................................19




                                                                    -i-
         Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 3 of 28




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

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    567 U.S. 387 (2012) ...................................................................................................................6

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   273 A.D. 411 (N.Y. App. Div., 1st Dep’t 1948)......................................................................14

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    3 F. Cas. 704 (C.C.D. N.J. 1809) .......................................................................................11, 12

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   7 Johns. 538 (1811) ..................................................................................................................13

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   269 N.Y. 397 (1936) ................................................................................................................16

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    897 F.3d 1225 (9th Cir. 2018) ...................................................................................................7

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   133 Misc. 2d 893 (Civ. Ct., N.Y. City 1986)...........................................................................14

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   46 App. D.C. 220 (App. D.C. 1917) ........................................................................................11

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   No. 12-cv-9012, 2019 WL 4734579 (C.D. Cal. Sept. 27, 2019) ...............................................6

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   1 Wend. 292 (1828) ...........................................................................................................13, 14

Larned v. Griffin,
   12 F. 590 (C.C.D. Mass. 1882) ...............................................................................................11




                                                                  - ii -
         Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 4 of 28


                                                TABLE OF AUTHORITIES
                                                       (Cont.)
                                                                                                                                 Page(s)

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   293 U.S. 76 (1934) .....................................................................................................................8

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   23 How. Pr. 331 (1862)............................................................................................................13

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   1 Binn. 77 (Pa. 1803) ..............................................................................................................11

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   No. 19 Civ. 8876 (JSR), -- F. Supp. 3d --, 2019 WL 6906274 (S.D.N.Y.
   Dec. 19, 2019) ....................................................................................................................15, 17

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   14 F. 327 (C.C.N.D. Iowa 1882)..............................................................................................11

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   3 Misc. 3d 341 (Dist. Ct., Suffolk County 2004) .....................................................................13

Page Co. v. MacDonald,
   261 U.S. 446 (1923) .................................................................................................................12

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   18 F. Cas. 1137 (C.C.E.D. Pa. 1849) .................................................................................11, 12

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   136 N.Y. 585 (1893) ................................................................................................................14

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   66 N.Y. 124 (1876) ............................................................................................................13, 14

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   382 F. Supp. 3d 142 (D. Mass. 2019) ............................................................................8, 15, 17

Stewart v. Ramsey,
   242 U.S. 128 (1916) ...........................................................................................................12, 16

Statutes

U.S. CONST. amend. X .....................................................................................................................7

8 U.S.C. § 1103(a)(10) .....................................................................................................................5



                                                                  - iii -
         Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 5 of 28


                                                 TABLE OF AUTHORITIES
                                                        (Cont.)
                                                                                                                                    Page(s)

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    Pub. L. No. 104-208, 110 Stat. 3009 .........................................................................................5

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Executive Order No. 13,768, 82 Fed. Reg. 8799 (Jan. 25, 2017) ....................................................7

English Case Law

Ex Parte Jackson,
   33 Eng. Rep. 699 (1808) ......................................................................................................9, 16

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   96 Eng. Rep. 658 (1776) ............................................................................................................9

Meekins v. Smith,
  126 Eng. Rep. 363 (1791) .........................................................................................................9

Orchard’s Case,
   38 Eng. Rep. 987 (1828) ....................................................................................................10, 16

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   102 Eng. Rep. 530 (1802) ..........................................................................................................9

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   Based Deportation, 52 U.C. DAVIS L. REV. 171 (2018) ............................................................6

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   2013 BYU L. REV. 1457 (2013) ................................................................................................6

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   Annie Lai, Elizabeth M. McCormick & Juliet P. Stumpf, Understanding
   “Sanctuary Cities,” 59 B.C. L. REV. 1703 (2018) ....................................................................3




                                                                    - iv -
        Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 6 of 28


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   Courts During the Crimmigration Crisis, 127 YALE L.J. FORUM 410 (2017) ..........................7

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  STATE OF NEW YORK 129 (2d ed. 1836) ..................................................................................12

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   Trump Effect, 94 N.Y.U. L. REV. 125 (2019) ............................................................................5

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    Attack on Sanctuary Cities Unintentionally Strengthened Judicial Protection
    for State Autonomy, 97 TEX. L. REV. 1247 (2019) ....................................................................7

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    Power, 56 AM. U. L. REV. 367 (2006) .......................................................................................3

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  MODERN AMERICA (2004) .....................................................................................................5, 6

Memorandum from James A. Puleo, Acting Associate Commissioner of the
  Office of Operations, U.S. Immigration & Naturalization Service (May 17,
  1993), available at https://bit.ly/2Ccdrqe ..................................................................................4

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   Power Doctrine, 78 YALE L. J. 52 (1968)................................................................................10

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    Immigration Localism, 119 COLUM. L. REV. 837 (2019) .........................................................7

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   State Courthouses, 32 GEO. IMMIGR. L.J. 275 (2018) ............................................................4, 5

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   New Penology, 17 GEO. IMMIGR. L.J. 611 (2003)......................................................................3

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   Racial” World, 76 OHIO ST. L.J. 599 (2015) .............................................................................6




                                                             -v-
        Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 7 of 28


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                                                              - vi -
      Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 8 of 28




                                INTEREST OF AMICI CURIAE

       Amici, who are listed in the Appendix, are scholars of constitutional law, criminal law,

and immigration law. Collectively, their scholarship addresses the recent history of immigration

enforcement, the entanglement of state and local criminal systems in immigration enforcement,

and the phenomenon of courthouse immigration arrests and legal issues attendant thereto. Amici

have expertise and a professional interest in the proper construction and enforcement of

constitutional and statutory limits on federal immigration enforcement authority, and bring that

expertise and interest to bear here by illuminating historical developments in this area, an

understanding of which is critical to a resolution of the claims before the Court.

       This Court granted the amici’s letter-motion to file this amicus brief. No counsel for a

party authored this brief in whole or in part and no person or entity, other than amici curiae and

their counsel, has contributed money that was intended to fund preparing or submitting the brief.




                                                 1
      Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 9 of 28




                                        INTRODUCTION

       This case presents the question whether a person may be subjected to civil immigration

arrest while at a state courthouse or its environs, or while traveling to or from state-court

proceedings. The answer to that question is “no.” Civil immigration arrests are inconsistent with

a longstanding common-law privilege against such arrests. Courts have had few occasions to

consider the rule forbidding civil arrests in modern times because, until recently, neither private

nor governmental entities asserted that they could effectuate such civil arrests. The law

governing this issue is ancient and well settled; what is new is the government’s zeal for

pursuing noncitizens, at the expense of disrupting the administration of justice in state courts, to

make a civil immigration arrest.


       The United States argues in its motion to dismiss plaintiffs’ complaint challenging the

courthouse-arrest practice that no common-law rule against civil arrest applies to limit or

prohibit civil immigration arrests. Amici write to assist the Court in providing relevant context

for that assertion, which is incorrect. The federal government’s recently-claimed prerogative to

arrest noncitizens inside state courthouses does not arise in vacuum, but instead is part of an

ongoing and escalating struggle in which the federal government seeks to compel state and local

governments to assist in enforcing immigration law. Enforcement authorities have turned to state

courts when they have deemed local cooperation to be insufficient, or simply to ease the burden

of locating and apprehending removable individuals. But these efforts run contrary to deeply-

ingrained public policy ensuring access to courts, protecting the rights of litigants and witnesses,

and preserving the dignity and decorum of courts. In short, the public interest in the

administration of justice, as reflected in the common-law privilege from arrest, outweighs the

government’s interest in effectuating civil arrests inside courthouses.


                                                  2
      Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 10 of 28




                                          ARGUMENT

I.     The Courthouse Arrest Directive Seeks to Enlist the States in Enforcing
       Federal Immigration Law

       Thirty years of ever-increasing efforts by the federal government to harness state and

local criminal systems in the service of immigration enforcement set the stage for the conflict

between the parties in this case. After years of the Executive pressuring the States to participate

in civil immigration enforcement, the current Administration has focused its gaze on state

courthouses as a place where it can leverage state resources to carry out immigration

enforcement.


       For more than a century, the Supreme Court clearly demarcated separate spheres of

responsibility over state and local crime control and federal immigration control. See generally

Christopher N. Lasch, R. Linus Chan, Ingrid V. Eagly, Dina Francesca Haynes, Annie Lai,

Elizabeth M. McCormick & Juliet P. Stumpf, Understanding “Sanctuary Cities,” 59 B.C. L.

REV. 1703, 1719-23 (2018) (describing recent entanglement of these systems). During the 1980s

and 1990s, this clear demarcation began to blur. Congress amended the Immigration and

Nationality Act to increase the number and types of crimes that would subject a noncitizen to

deportation. In 1988, for example, Congress created a category of “aggravated felonies,” which

expanded the list of removable offenses. Almost every immigration statute enacted since then

has continued to expand the list of crimes resulting in deportation or exclusion from the United

States. See Teresa A. Miller, Citizenship & Severity: Recent Immigration Reforms and the New

Penology, 17 GEO. IMMIGR. L.J. 611, 633-34 (2003); Juliet P. Stumpf, The Crimmigration Crisis:

Immigrants, Crime, and Sovereign Power, 56 AM. U. L. REV. 367, 383 (2006).




                                                 3
     Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 11 of 28




       As the federal government expanded its enforcement efforts, incursion on sensitive

locations became more and more likely. After a series of enforcement actions in churches and

one school, the former Immigration and Naturalization Service created a policy in 1993 that

prohibited immigration enforcement actions in “sensitive locations.” Sarah Rogerson, Sovereign

Resistance to Federal Immigration Enforcement in State Courthouses, 32 GEO. IMMIGR. L.J. 275,

283-84 (2018). The INS identified churches, hospitals, and schools as “sensitive locations”

where immigration enforcement would unnecessarily alarm or harm communities. The “sensitive

locations” policy required the INS to “attempt to avoid apprehension of persons and to tightly

control investigative operations on [those] premises.” Memorandum from James A. Puleo,

Acting Associate Commissioner of the Office of Operations, U.S. Immigration & Naturalization

Service (May 17, 1993), available at https://bit.ly/2Ccdrqe. Enforcement activities in these

“sensitive locations” required advance written approval from a District Director, who would

consider whether alternative measures were available that would minimize the impact on these

institutions and communities. See Rogerson, Sovereign Resistance, 32 GEO. IMMIGR. L.J. at 283.

The 1993 policy memo did not need to identify courthouses as “sensitive locations” because

longstanding common law already prohibited civil arrests at these locations. Courthouses would

not become a target for decades.


       The government recognized in its “sensitive locations” policy—implicitly if not

explicitly—that the public interest in protecting vulnerable populations and privileged activities

may outweigh the public interest in apprehending noncitizens on civil charges sooner rather than

later. See id. at 285-87. Law enforcement may do more harm than good by making an arrest

inside a church or hospital or at a wedding or funeral because such arrests may corrode the

relationship between law enforcement and affected communities. And the risk of error inherent



                                                 4
      Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 12 of 28




in all human activity, including law enforcement, may require particular certainty and

supervisory approval before disrupting people who are exercising important rights. See id.


       While the “sensitive locations” memo recognized a public interest in balancing civil

apprehension against unwarranted intrusions on the exercise of rights and human dignity, it by

no means signaled a retreat from enforcement efforts. To the contrary, in 1996, Congress sought

to multiply personnel involved in enforcement activities by enacting a bill that invited state and

local (hereafter “subfederal,” see Huyen Pham & Pham Hoang Van, Subfederal Immigration

Regulation and the Trump Effect, 94 N.Y.U. L. REV. 125 (2019)) law enforcement agencies to

help enforce immigration law. Pub. L. No. 104-208, § 133, 110 Stat. 3009, 3009-563 (1996)

(amending 8 U.S.C. § 1357 to allow agreements authorizing subfederal officers to carry out the

“function of an immigration officer”). Congress also specified narrow circumstances in which

subfederal officers can effect civil immigration arrests outside such agreements. See 8 U.S.C.

§§ 1103(a)(10), 1252c. In each of these instances, the federal government authorized, but did not

require, state and local officers to enforce civil immigration law.


       After the terrorist attacks on September 11, 2001, though, the federal government

aggressively pushed for state and local law enforcement to take an active role in immigration

enforcement,1 taking the position that subfederal law enforcement officers did not need


1
  Scholars have documented the evolution of Executive reliance on state and local crime control
systems as connected to the racialized portrayal of immigrants as criminal and national-security
threats. See generally MAI M. NGAI, IMPOSSIBLE SUBJECTS: ILLEGAL ALIENS AND THE MAKING OF
MODERN AMERICA (2004); César Cuauhtémoc García Hernández, Creating Crimmigration, 2013
BYU L. REV. 1457 (2013); Jennifer M. Chacón, Unsecured Borders: Immigration Restrictions,
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Based Deportation, 52 U.C. DAVIS L. REV. 171 (2018).



                                                 5
      Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 13 of 28




authorization such as that contained in the 1996 legislation, and opining instead that subfederal

officers had the “inherent authority” to enforce immigration laws. See Michael J. Wishnie, State

and Local Police Enforcement of Immigration Laws, 6 U. PA. J. CONST. L. 1084, 1084-88 (2004).

The Supreme Court discredited the “inherent authority” argument in Arizona v. United States,

567 U.S. 387 (2012), noting the “limited circumstances” in which Congress had authorized

immigration arrests by subfederal officers and holding that Arizona’s attempt to authorize such

arrests beyond the “system Congress created” was preempted. Id. at 408-10.


       Executive efforts to enlist state and local officers in the immigration enterprise have been

repeatedly rejected as overreach by the courts. Federal courts, for example, struck down the

notion that subfederal officials could be compelled by federal officials to detain suspected

immigration violators, see Galarza v. Szalczyk, 745 F.3d 634, 641-45 (3d Cir. 2014) (holding

commands for detention were not authorized by the INA and would violate the Tenth

Amendment’s anti-commandeering doctrine), and also held that federal officials routinely

exceeded their authority in even requesting such detention without complying with the INA’s

requirements for civil immigration arrests, Moreno v. Napolitano, 213 F. Supp. 3d 999 (N.D. Ill.

2016). Recently, a federal court enjoined immigration officials’ practice of requesting detention

by subfederal officials lacking any state-law authority for such detention, noting that a

“fundamental tenet of federalism requires states to determine the powers and responsibilities of

their own officers and any attempt to subvert states’ control over their law enforcement runs

afoul of the Tenth Amendment.” Gonzalez v. Immigration and Customs Enforcement, No. 12-cv-

9012, 2019 WL 4734579, at *16–18 (C.D. Cal. Sept. 27, 2019).


       The Trump Administration, like others before it, has ratcheted up pressure on local

governments to enforce civil immigration law. See Pratheepan Gulasekaram, Rick Su, & Rose


                                                 6
      Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 14 of 28




Cuison-Villazor, Anti-Sanctuary and Immigration Localism, 119 COLUM. L. REV. 837, 844-47

(2019) (describing shift from “encouragement” to a “more direct and punitive approach”). In

2017, the President issued an Executive Order that threatened to withhold federal funding from

any jurisdiction that the Secretary of Homeland Security, “in his discretion,” designated as a

“sanctuary jurisdiction.” Exec. Order No. 13,768, 82 Fed. Reg. 8799, 8801 (Jan. 25, 2017). The

Ninth Circuit concluded “that the Administration intends to cripple jurisdictions that do not assist

in enforcing federal immigration policy” and affirmed in part the judgment for the California

counties that challenged the Executive Order, finding the Executive violated separation of

powers principles. City & County of San Francisco v. Trump, 897 F.3d 1225, 1243 (9th Cir.

2018). Subsequent efforts to defund sanctuary jurisdictions have likewise been struck down as

Executive overreach. See Ilya Somin, Making Federalism Great Again: How the Trump

Administration’s Attack on Sanctuary Cities Unintentionally Strengthened Judicial Protection

for State Autonomy, 97 TEX. L. REV. 1247, 1254-84 (2019) (detailing court rulings).


       In the wake of this extensive history of rulings that rejected ongoing efforts to conscript

the States into enforcing civil immigration law, the federal government retaliated by increasing

arrests in state courthouses. See Christopher N. Lasch, A Common-Law Privilege to Protect State

and Local Courts During the Crimmigration Crisis, 127 YALE L.J. FORUM 410, 421-22 & nn.

64-67 (2017). In January 2018, the Department of Homeland Security issued the “Courthouse

Arrests Directive” that is the subject of this action. Compl. ¶ 3. Driven to coopt state systems in

the service of immigration enforcement, the government’s policy shifted from protecting

sensitive locations to taking unprecedented action to enforce civil immigration law in a setting

the common law has regarded as deserving of special protection for hundreds of years.




                                                 7
      Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 15 of 28




II.    The Common Law Precludes Civil Arrests in the Vicinity of Courthouses or
       While Going to or Returning from Court Proceedings

       At common law, a plaintiff commenced a civil action against a defendant by procuring

his arrest. See Ryan v. United States Immigration & Customs Enforcement, 382 F. Supp. 3d 142,

155-56 (D. Mass. 2019) (citing authorities). The common-law rule against civil arrests in and

around courthouses and while persons travel to and from court proceedings developed in

England, where the civil-arrest practice began and was commonplace, and later that rule became

part of the law of the United States. See Long v. Ansell, 293 U.S. 76, 83 (1934).


       A.      English-Law Origins of the Common-Law Privilege from Arrest

       In his eighteenth-century treatise on English law, William Blackstone summarized the

law as providing that:


       Suitors, witnesses, and other persons, necessarily attending any courts of record
       upon business, are not to be arrested during their actual attendance, which
       includes their necessary coming and returning. And no arrest can be made in the
       king’s presence, nor within the verge of his royal palace, nor in any place where
       the king’s justices are actually sitting.

3 WILLIAM BLACKSTONE, COMMENTARIES ON THE LAWS OF ENGLAND 289 (1768); see also

R. TARRANT HARRISON, HARRISON’S ANALYTICAL DIGEST 358-63 (1846) (citing cases).


       As indicated, Blackstone’s treatise states a rule that applies separately to persons and

places. A person attending court upon business shall not be arrested in connection with his or her

attendance, which includes travel to and from the courthouse. And “no arrest” can be made at the

“place” where the king’s justices sit, i.e., the courthouse and its environs. This latter statement of

the rule is absolute and includes even those persons who have no “business” before the Court.


       The reported English law cases follow Blackstone’s statement of the rule that persons

going and returning to court may not be arrested in connection with civil claims. In Meekins v.


                                                  8
      Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 16 of 28




Smith, the Court restated the general rule “that all persons who had relation to a suit which called

for their attendance, whether they were compelled to attend by process or not, (in which number

bail were included) were intitled to privilege from arrest eundo et redeundo [going and

returning], provided they came bonâ fide.” 126 Eng. Rep. 363, 363 (1791). In Spence v. Stuart, a

defendant was privileged against arrest when he appeared for examination under oath before an

arbitrator. 102 Eng. Rep. 530, 530-31 (1802). In Lightfoot v. Cameron, a party was privileged

from arrest while dining with his attorney after attending court proceeding during the day. 96

Eng. Rep. 658, 658 (1776). In Ex Parte Jackson, the Court stated that “[t]here is no doubt, that

the privilege extends to a Plaintiff, or a Defendant, attending his own cause.” 33 Eng. Rep. 699,

700 (1808). As the Court explained, “a party may give useful information, as the cause

proceeds.” Id.


        In a 1782 case, a witness from France was arrested in England after he appeared to testify

as a witness in connection with another case. Walpole v. Alexander, 99 Eng. Rep. 530, 530

(1782). Lord Mansfield stated that “[t]his is the first case of a witness coming from abroad who

has required the protection of the Court” (id. at 531), meaning that in all prior cases in which the

Court had applied the rule against civil arrest, the arrestee was a domestic resident. The Court

decided to extend the rule protecting domestic residents, stating that the “protection is extended

to witnesses coming from abroad, as well as to those who are resident in this country.” Id.

“Every reason which applies to the protection of a witness at home,” the Court stated, “holds

more strongly with regard to a witness who comes from abroad.” Id. Thus, English law

recognized that the rationale underlying the rule against civil arrests applied to persons within

and outside its jurisdiction.




                                                 9
      Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 17 of 28




       The reported English law cases also follow Blackstone’s statement of the rule that “no

arrest” may take place where the king’s justices sit. In Orchard’s Case, an attorney was arrested

either inside the court or “in the space between the outer and the inner doors” of the court. 38

Eng. Rep. 987, 987 (1828). The attorney, Orchard, “was not in court for the purpose professional

attendance, or of discharging any professional duty.” Id. But Orchard could not be arrested

because no arrest may be made “in any place where the King’s justices are actually sitting.” Id.

(quoting BLACKSTONE, supra). “To permit arrest to be made in the Court would give occasion to

perpetual tumults, and was altogether inconsistent with the decorum which ought to prevail in a

high tribunal.” Id. In Orchard’s Case, the Court discharged Orchard from custody and

“admonished the officer to beware of again acting in a similar manner.” Id. at 988.


       B.      The Federal Common-Law Privilege from Arrest

       Until recently, courts in the United States had relatively few occasions to consider

whether a common-law rule precluded civil arrest inside courthouses and while going and

returning to court. England largely abolished the practice of civil arrest in 1838. See Nathan

Levy, Jr., Mesne Process in Personal Actions at Common Law and the Power Doctrine, 78 Yale

L. J. 52, 68 & n.75 (1968). The practice “has all but disappeared” in the United States as well.

17A Moore’s Federal Practice - Civil § 120 Historical Appendix 02 n.30 (2019). Because

American courts continued a legacy of English common law in which the privilege against civil

arrest—i.e., taking the defendant into custody—was firmly established, much American case

law focuses on the question whether the privilege protects persons and places from civil service

of process in and near courthouses. The proposition that a person may not be arrested in a

courthouse or its vicinity was and is well settled. As demonstrated below, cases addressing the




                                                10
      Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 18 of 28




scope of the privilege against service of process expand upon, and certainly do not supersede or

replace, the privilege against civil arrest.


        In Parker v. Hotchkiss, for example, the court considered whether the “uniform” practice

of protecting person and place from civil arrest should extend to civil service of summons. 18 F.

Cas. 1137, 1138 (C.C.E.D. Pa. 1849). In Miles v. McCullough, the defendant moved to set aside

service of summons and the plaintiff responded that the defendant “was privileged from arrests

alone.” 1 Binn. 77 (Pa. 1803); Bridges v. Sheldon, 7 F. 17, 44 (C.C.D. Vt. 1880) (describing

Miles); see also Nichols v. Horton, 14 F. 327, 329-30 (C.C.N.D. Iowa 1882) (noting distinction

between civil arrest and civil service of summons).


        In Larned v. Griffin, the court stated that “[i]t has long been settled that parties and

witnesses attending in good faith any legal tribunal, with or without a writ of protection, are

privileged from arrest on civil process during their attendance, and for a reasonable time in going

and returning.” 12 F. 590, 590 (C.C.D. Mass. 1882) (citing cases). The question presented was

whether “this immunity extends to all kinds of civil process[.]” Id. at 594; see also Engle v.

Manchester, 46 App. D.C. 220, 228-29 (App. D.C. 1917) (same). These cases likewise confirm

and build upon the rule against civil arrest, extending it to reach civil service in which the

defendant is not detained.


        An early federal case, Blight v. Fisher, explicitly distinguished between arrest and

summons in determining whether the defendants had a personal privilege against summons that

entitled them to dismissal of the suit. 3 F. Cas. 704, 705 (C.C.D. N.J. 1809). The court held that

both civil arrest and summons are a contempt that the court may punish. The court held,

however, that an individual has a right and privilege only against arrest and denied a motion to

dismiss based on improper service of summons. See id. (“the privilege of a suitor or witness


                                                  11
      Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 19 of 28




extends only to an exemption from arrest”). In Stewart v. Ramsay, the Supreme Court observed

that Blight was overruled by Parker v. Hotchkiss, supra, because Blight did not go far enough,

i.e., while the common-law rule protecting courts and individuals obviously covers arrests, it

also covered civil service of summons. 242 U.S. 128, 130-31 (1916).


        Thus, the United States Supreme Court fully accepted and endorsed the rule against civil

arrest and, like courts before it, decided only whether an individual defendant had a personal

privilege against civil process. See id. (affirming dismissal based on improper service of

summons); see also Page Co. v. MacDonald, 261 U.S. 446, 447-49 (1923) (same). As the Court

reasoned, “Courts of justice ought everywhere to be open, accessible, free from interruption, and

to cast a perfect protection around every man who necessarily approaches them.” Stewart, 242

U.S. at 129 (quotation marks omitted).


        C.     New York’s Common-Law Privilege from Arrest

        Consistent with its English common-law heritage, federal law, and the law of other

States, New York has long recognized a rule against civil arrest in and around courthouses and

while going and returning to court proceedings on business. See DAVID GRAHAM, TREATISE ON

THE PRACTICE OF THE SUPREME COURT OF THE STATE OF NEW YORK            129 (2d ed. 1836) (“As a

general rule, every person who has any relation to a suit, whether his presence be compulsory or

not, is exempt from arrest, eundo, morando, et redeundo [going, staying, and returning].”). Like

their sister courts, New York’s courts distinguished between an arrest—taking a person into

custody—and civil process that did not involve taking the defendant into custody. See Frisbie v.

Young, 11 Hun. 474, 475 (1st Dep’t 1877) (“As a resident witness, he was exempt only from

arrest while attending for examination, and not from the service of process.” (emphasis in

original)).


                                                12
      Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 20 of 28




       In Hopkins v. Coburn, for example, the Supreme Court of Judicature of New York stated

that a New York resident who was attending a trial as a party to a lawsuit “was undoubtedly

privileged from arrest.” 1 Wend. 292, 293 (1828); see also Bours v. Tuckerman, 7 Johns. 538

(1811) (“The defendant was privileged from arrest ….”). In Hopkins, however, there “was not an

arrest” because “bail was not demanded.” 1 Wend. at 293. In other words, the plaintiff served the

defendant but did not require him to post a bond as a condition of release, and so he was not

detained. Because the defendant in Hopkins was a New York resident, he had no personal

privilege against service of process. See id. But even a New York resident, under the early cases,

could not be taken into custody and required to post a bail bond. See Merrill v. George, 23 How.

Pr. 331, 334-36 (1862) (citing cases).


       Against this common-law backdrop, the New York Court of Appeals stated in 1876 that

“[i]t is the policy of the law to protect suitors and witnesses from arrests upon civil process while

coming to and attending the court and while returning home.” Person v. Grier, 66 N.Y. 124, 125

(1876). The Court commented that “[t]his rule is especially applicable in all its force to suitors

and witnesses from foreign States, attending upon the courts of this State,” thereby indicating

that the rule was also applicable to domestic parties and witnesses. Id. (emphasis added); see

North Fork Bank v. Grover, 3 Misc. 3d 341, 344 (N.Y. Dist. Ct., Suffolk County 2004)

(construing Person).


       The Court of Appeals observed that in some prior cases the privilege against civil arrest

meant only that a resident defendant could not be taken into custody and required to post a bond.

Such defendants, the Court explained, have “been discharged from arrest upon filing common

bail” (Person, 66 N.Y. at 125), which was “intended only to express the appearance of the

defendant, in a case where special bail is not required.” Alexander M. Burrill, A Law Dictionary


                                                 13
      Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 21 of 28




and Glossary 174 (2d ed. 1859) (defining “Bail, Common”); see also Hopkins, 1 Wend. at 293

(“The indorsing of an appearance is equivalent to filing common bail.”). The Court further

observed that a non-resident defendant was not only privileged against arrest, such that he could

not be taken into custody, but also privileged against service of process, such that service of

process “has been absolutely set aside.” Person, 66 N.Y. at 125. The Court opined that whether a

“distinction” between residents and non-residents “should or does in fact exist, is at least

doubtful” in view of the reasons for the rule. Id. at 126. The Court explained:


       This immunity is one of the necessities of the administration of justice, and courts
       would often be embarrassed if suitors or witnesses, while attending court, could
       be molested with process. Witnesses might be deterred, and parties prevented
       from attending, and delays might ensue or injustice be done.

Id. (affirming order setting aside service on non-resident); see also Parker v. Marco, 136 N.Y.

585, 589 (1893) (“[the privilege] is deemed necessary for the maintenance of its authority and

dignity and in order to promote the due and efficient administration of justice”).


       Consistent with Person and Parker, subsequent New York courts have commented that

they do not “look with favor on the service of civil process in any part of a courthouse building

unless there is some compelling reason for such service ….” Baumgartner v. Baumgartner, 273

A.D. 411, 412 (N.Y. App. Div., 1st Dep’t 1948); see Dep’t of Hous. Pres. & Dev. v.

Koenigsberg, 133 Misc. 2d 893, 898-99 (Civ. Ct., N.Y. City 1986). While these courts stopped

short of imposing contempt sanctions on parties that served civil process on a resident defendant,

they disapproved the practice and reserved the power to do so—and these cases address only

service, not forcible detentions. And throughout New York’s history, the state courts have

uniformly maintained a firm rule against civil arrest—taking a defendant into custody—in

connection with a civil suit, regardless of whether the defendant is a resident or non-resident.




                                                 14
       Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 22 of 28




III.    Defendants’ Common-Law Arguments Are Meritless

        Defendants argue that “there is no state or federal common law immunity from

immigration enforcement for those subject to ICE arrest.” Def. Mem. 23 (ECF No. 64). But their

argument focuses largely on case law holding that a non-resident is immune from service of

process while attending judicial proceedings in another State, and ignores case law holding that

residents and non-residents alike may not be arrested and taken into custody in connection with a

civil claim. See id. at 23-27. Because the plaintiffs here challenge courthouse arrests and

detentions in jails and other prison-like facilities, the defendants’ attempt to confine the

common-law privilege to one concerning service of papers is inapposite and historically

inaccurate. As Judge Rakoff explained in denying the government’s motion to dismiss in New

York v. U.S. Immigration & Customs Enforcement, later decisions regarding service of process

do not support the notion that the privilege was narrowed over time but rather demonstrate that

the privilege was broadened to encompass not only courthouse arrests but service of process as

well. No. 19 Civ. 8876, -- F. Supp. 3d --, 2019 WL 6906274, at *9 (S.D.N.Y. Dec. 19, 2019).

“Far from being abandoned, therefore, the privilege was being expanded.” Id.; see also Ryan,

382 F. Supp. 3d at 156 (“Such an ‘absolutely indispensable’ privilege, so fundamental to the

functioning of both federal and state judiciary, cannot be assumed to have disappeared simply

with the passage of time.” (citations omitted)).


        The continuing vitality of the common-law privilege and its applicability to courthouse

immigration arrests is supported by the public policy rationales underlying the rule against civil

arrests in courthouses, all of which apply to federal civil immigration arrests. New York, 2019

WL 6906274, at *10. The rule is necessary to encourage witnesses to testify and to encourage

parties to participate in their own case. A noncitizen who fears civil immigration arrest at the



                                                   15
      Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 23 of 28




courthouse may not be willing to assist prosecutors in testifying against a criminal defendant, or

to assist a family member in seeking a restraining order against an abusive spouse, or to assist

parties in other matters. To encourage individuals to participate in the judicial process and

thereby advance the administration of justice in all manner of cases, the rule against civil arrest

extends not only to arrests within the courthouse itself, and its environs, but also to arrests of

people going to and returning from court proceedings. See Section II, supra. To paraphrase the

Supreme Court, courts of justice ought to be open and protect those who approach them. Stewart,

242 U.S. at 129.


       The rule against civil arrests not only encourages witnesses and parties to appear, but also

minimizes disruption to proceedings and the flow of information. After all, if the federal

government removes a witness from the courtroom, he or she is no longer available to “give

useful information” to the court [Ex Parte Jackson, 33 Eng. Rep. at 700] or assist or consult with

counsel representing them. Chase Nat’l Bank v. Turner, 269 N.Y. 397, 399 (1936). An arrest

physically prevents testimony and therefore disrupts proceedings even more than civil service of

process. No matter where the witness resides, if she cannot testify because officers have taken

her away in connection with a civil immigration charge, the courts, parties, and public will suffer

for lack of information that she might have otherwise provided.


       Finally, the rule against civil arrest protects the courts from “perpetual tumults”

[Orchard’s Case, 38 Eng. Rep. at 987] that would arise if federal immigration officers could

arrest noncitizens in the vicinity of the courthouse. Taking a person into custody—by force, if

necessary—would generally be far more disruptive than handing a person papers or refraining

from initiating immigration proceedings in courthouses altogether. And there is no reason why

arresting residents would be any less disruptive than arresting non-residents. In short, nothing in


                                                  16
      Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 24 of 28




the common-law rule against civil arrest suggests that it applies only to non-residents or “when a

“jurisdiction would otherwise lack authority over the person but for his or her appearance in the

jurisdiction to attend a court proceeding,” as defendants argue. Def. Mem. 25.


       Two federal cases directly on point now support plaintiffs’ position. Ryan, 382 F. Supp.

3d 142; New York, 2019 WL 6906274. And defendants’ position finds no support for good

reason: Until very recently, conducting federal immigration enforcement inside state courts was

unthinkable except in extraordinary circumstances. The rule against civil arrest has not played a

prominent role in litigation over the last one hundred years precisely because the law so clearly

forbid courthouse arrests. In fact, the federal government has recognized that important policy

interests warrant restraint in conducting civil immigration enforcement at sensitive locations.

And state courthouses are more than just another “sensitive location”; they are an essential part

of government, as recognized by common-law decisions dating back to the time of the King’s

justices. The rule that protects them from interference by civil arrest should apply to the civil

immigration enforcement arrests at issue here.


                                          CONCLUSION

       Amici curiae respectfully submit that the Court should conclude that immigration officers

may not arrest persons on civil immigration charges at or in the vicinity of courthouses or while

they are going to or returning from court proceedings.




                                                 17
     Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 25 of 28




Dated: December 27, 2019


                                          Respectfully submitted,


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                                     18
Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 26 of 28




                                   APPENDIX

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                                        19
Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 27 of 28




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                                      20
     Case 1:19-cv-08892-AJN-JLC Document 73 Filed 12/27/19 Page 28 of 28




                                CERTIFICATE OF SERVICE


       I hereby certify that the foregoing was electronically filed using the Court’s CM/ECF

system. I certify that all participants are CM/ECF users and that service will be accomplished via

CM/ECF system.


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